                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                           )
                                                    )       Case No. 1:12-cr-94-HSM-SKL
 v.                                                 )
                                                    )
 PATRICK HARPER                                     )
                                                    )

                                           ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the eleven count

 Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3) adjudicate

 Defendant guilty of the charges set forth in Count One of the Indictment; and (4) Defendant will

 remain on bond under appropriate conditions of release pending sentencing in this matter [Doc.

 269]. Neither party filed a timely objection to the report and recommendation. After reviewing

 the record, the Court agrees with the magistrate judge’s report and recommendation. Accordingly,

 the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation [Doc. 269]

 pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)    Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

               is GRANTED;

        (2)    Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

        (3)    Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

               Indictment;

        (4)    Defendant SHALL REMAIN on bond under appropriate conditions of release

               pending sentencing in this matter which is scheduled to take place on April 11,

               2016 at 9:00 a.m. [EASTERN] before the Honorable Harry s. Mattice, Jr.



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       SO ORDERED.

       ENTER:

                                                /s/ Harry S. Mattice, Jr._______
                                               HARRY S. MATTICE, JR.
                                            UNITED STATES DISTRICT UDGE




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